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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  Gregory Q. Schorr,
          Plaintiff,
     v.                                           Case No. 1:22-cv-02083-TWP-TAB
  PPA Holdings, Inc.;
  Protect Plus Holdings Corp.; and
  PPA Industries, Inc.

          Defendants.


              ORDER GRANTING JOINT MOTION TO CONTINUE CASE
                      MANAGEMENT PLAN DEADLINES

          This Court, having reviewed the Parties’ Joint Motion to Continue Case

 Management Deadlines by 120 days, and being sufficiently advised hereby GRANTS

 said motion. [Fiing No. 33.]

          IT IS THEREFORE ORDERED that the deadlines in the Case Management Plan

 will be continued as follows:

  Event                           Previous Deadline           New Deadline
  Service of Fed. R. Civ. P. 26
                                  February 23, 2023           June 23, 2023
  initial disclosures
  Plaintiff’s preliminary
                                  March 2, 2023               June 30, 2023
  witness and exhibit lists
  Defendant’s preliminary
                                  March 9, 2023               July 7, 2023
  witness and exhibit lists
  Motions for leave to
  amend the pleadings
                                  March 23, 2023              July 21, 2023
  and/or to join additional
  parties
  Plaintiff’s service of
  statement of special
                                  March 23, 2023              July 21, 2023
  damages and settlement
  proposal on Defendants
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  Plaintiff’s disclosure of
  expert witnesses (with
  name, address, vita, and      October 10, 2023     February 7, 2024
  report required by Fed. R.
  Civ. P. 26(a)(2))
  Defendant’s disclosure of
  expert witnesses (with
  name, address, vita, and      November 9, 2023     March 8, 2024
  report required by Fed. R.
  Civ. P. 26(a)(2))
  Objections by any party
  who wishes to limit or
                                February 8, 2024     June 7, 2024
  preclude expert testimony
  at trial
  Party with the burden of
  proof shall file statement
  of claims or defenses it
  intends to prove at trial,
  stating specifically the
                                August 30, 2023      December 28, 2023
  legal theories upon which
  the claims or defenses are
  based, consistent with the
  certification provisions of
  Fed. R. Civ. P. 11(b)
  Dispositive motions           September 27, 2023   January 25, 2024
  Completion of non-expert
  witness discovery and
                                August 23, 2023      December 21, 2023
  discovery relating to
  liability issues
  Completion of expert
  witness discovery and
                                January 24, 2024     May 23, 2024
  discovery relating to
  damages
  Trial date requested          May 2024             September 2024




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       These continued deadlines do not affect Plaintiff’s motion for judgment on the
 pleadings, which is pending before the Court.


        Date: 3/2/2023
                                         _______________________________
                                           Tim A. Baker
                                           United States Magistrate Judge
                                           Southern District of Indiana




 Distribution to all counsel of record via CM/ECF.




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